 1   Mark Ditton WSBA#45432                                              Judge: Honorable Christopher M. Alston
     1312 Main Street                                                    Chapter 13
 2
     Vancouver, WA 98684                                                 Hearing Date: 5/28/2020
 3   (360) 831-0893                                                      Hearing Time: 9:30 am
                                                                         Response Date: 4/21/2020
 4                                                                       Hearing Location: Telephonic
     Attorney for Debtor
 5

 6                                    UNITED STATES BANKRUPTCY COURT
                                      WESTERN DISTRICT OF WASHINGTON
 7

 8     In re:                                                      Case No. 17-14317 CMA
 9
        Troy Shelby                                                NOTICE OF HEARING AND
10      Jocelyn Shelby                                             ATTORNEY’S APPLICATION FOR
                                                                   COMPENSATION IN A CHAPTER 13 CASE
11                                         Debtor(s).

12
                                                     NOTICE OF HEARING
13
     TO:     Clerk of the United States Bankruptcy Court; and All parties in interest:
14
             PLEASE TAKE NOTICE that an Application for Compensation in a Chapter 13 Case IS SET
15
     FOR HEARING as follows:
16
                DATE OF HEARING                  May 28, 2020
17              TIME                             9:30am
18              JUDGE                            Hon. Christopher M. Alston
                                                 Telephonic:
19
                                                 Dial: 1-888-363-4749
20                                               Enter Access Code: 8955076#
                LOCATION                         Press the # sign
21                                               Enter Security Code when
                                                 prompted: 3564#
22                                               Speak your name when
                                                 prompted
23              RESPONSE DUE                     May 21, 2020
24

25


     Notice and Attorney’s Application for Compensation in a Chapter 13 Case                                Page 1
     Local Forms W.D. Wash. Bankr., Form 13-9                                                            Eff. 12/15
             IF YOU OPPOSE the motion you must file your written response with the court clerk and
 1
     deliver copies to the undersigned and all interested parties NOT LATER THAN THE RESPONSE
 2
     DATE. IF NO RESPONSE IS TIMELY FILED AND SERVED, the Court may, in its discretion,
 3   GRANT THE MOTION PRIOR TO THE HEARING WITHOUT FURTHER NOTICE, and strike the
 4   hearing.

 5                                                  APPLICATION,
     Mark Ditton, attorney for the debtor(s), applies for additional fees and/or costs and expenses in the
 6
     amount of $700.00
 7

 8   I certify under penalty of perjury that the following is true and correct:
             1. This application includes amounts for:
 9
                 ☐Pre-Confirmation compensation.
10
                 ☒Post-Confirmation compensation.
11
                 ☐Pre- and Post-Confirmation compensation.
12
             2. The requested sum represents services rendered and / or costs and expenses incurred from
13               4/9/20 to 5/6/20, as set forth in the itemized time record attached pursuant to Local Rules
14               W.D. Wash. Bankr. 2016-1(e)(3).

15           3. A plan

16               ☒ was confirmed in this case on 4/5/18 (ECF Docket No._58_).

17               ☐ has not been confirmed. If a plan has not been confirmed, I have attached an explanation
                 of why I should be awarded compensation pre-confirmation.
18
             4. This is my third application for compensation. I was previously awarded compensation as
19
                 follows:
20               $ 4,271.00 on 1/2/18 (ECF Docket No.                66            )
21               $ 1,184.00 on [date] (ECF Docket No.                 81           )

22               $ 1,083.00 on [date] (ECF Docket No.                97            )
                 $ [amount] on [date] (ECF Docket No.                          )
23
                 $ [amount] on [date] (ECF Docket No.                          )
24
             5. The debtor(s) paid me $100 prior to filing.
25


     Notice and Attorney’s Application for Compensation in a Chapter 13 Case                            Page 2
     Local Forms W.D. Wash. Bankr., Form 13-9                                                        Eff. 12/15
             6. If approved, the total approved compensation will be $7,238.00(includes the amount
 1
                 debtor(s) paid me directly prior to filing this case, all compensation previously awarded and
 2
                 the compensation requested in this application).
 3           7. If I was awarded the presumptive fee and this is my first application for compensation, the
 4               attached itemized time record includes all services I have provided for representation of the
                 debtor(s) in any capacity whatsoever in connection with this case.
 5
             8. Allowance of the compensation requested in this application
 6
                 ☐ will require plan modification (e.g., the compensation makes the plan infeasible).
 7
                 ☒ will not require plan modification.
 8   I REQUEST THAT:
 9           1. The Court award the compensation requested.

10           2. The      awarded     compensation       be    allowed     as   an   administrative   expense   under
                 11 U.S.C. § 503(b) and paid according to the confirmed plan or, if a plan is never confirmed,
11
                 prior to dismissal or conversion (subject to applicable Trustee’s fee).
12
             3. Unless the Court orders otherwise, if this case is dismissed or converted after plan
13               confirmation, the Chapter 13 Trustee shall send undisbursed plan payments on hand to the
14               debtor(s) in care of Applicant, if the Applicant is the debtor(s)’ attorney at the time of
                 dismissal or conversion.
15
     A proposed order that conforms to Local Forms W.D. Wash. Bankr., Form 13-10 is attached.
16

17   DATE: _5/6/2020_______

18                                                              /s/ Mark Ditton___.
                                                                 Mark Ditton WSB#45432
19                                                              APPLICANT
20
                                             CERTIFICATE OF SERVICE
21
            The undersigned certifies that a copy of the foregoing Notice and Application for Attorney Fees
22   was served upon all Creditors Holding Allowed Claims per the attached mailing matrix and any parties
     requesting special notice by sending a true, full and exact copy enclosed in a sealed envelope by regular
23   postage, prepaid, U.S. Mail, or, where specified, electronically:
24   Served electronically:
25


     Notice and Attorney’s Application for Compensation in a Chapter 13 Case                                  Page 3
     Local Forms W.D. Wash. Bankr., Form 13-9                                                              Eff. 12/15
     Office of the U.S. Trustee;
 1   Jason Wilson-Aguilar; case trustee
 2

 3

 4
     Dated this 6th Day of May, 2020.
 5
                                                                /s/Mark Ditton____
 6                                                              Mark Ditton WSB#45432
                                                                360-831-0893 (office)
 7                                                              866-241-4176 (fax)
 8

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     Notice and Attorney’s Application for Compensation in a Chapter 13 Case               Page 4
     Local Forms W.D. Wash. Bankr., Form 13-9                                           Eff. 12/15
Label Matrix for local noticing                1st Security Bank                     ADT
0981-2                                         PO Box 97000                          3700 Corporate Drive, ste. 240
Case 17-14317-CMA                              Lynnwood, WA 98046-9700               Columbus, OH 43231-5001
Western District of Washington
Seattle
Tue May 5 14:32:42 PDT 2020
Alaska USA CU                                  Alaska USA Federal Credit Union       Alpha Pest Control
PO Box 196602                                  P.O Box 196200                        9525 Sweet Valley Drive
Anchorage, AK 99519-6602                       Anchorage, AK 99519-6200              Valley View, OH 44125-4237



Barclays                                       Bayview Loan                          Bayview Loan Servicing, LLC (Bayview)
PO Box 23870                                   PO Box 650091                         4425 Ponce de Leon Blvd., 5th Floor
Jacksonville, FL 32241-3870                    Dallas, TX 75265-0091                 Coral Gables, FL 33146-1873



Bayview Loan Servicing, LLC, as servicer for   Lesley D Bohleber                     COMENITY CAPITAL BANK
c/o Weinstein & Riley, P.S.                    Aldridge Pite LLP                     C/O Weinstein & Riley P.S.
2001 Western Ave, Suite 400                    4375 Jutland Dr                       2001 Western Ave Ste. 400
Seattle, WA 98121-3132                         San Diego, CA 92117-3600              Seattle, WA 98121-3132


Capital One, N.A.                              Cavalry SPV I, LLC                    Chase
c/o Becket and Lee LLP                         500 Summit Lake Drive, Ste 400        PO Box 1259
PO Box 3001                                    Valhalla, NY 10595-2321               Oaks, PA 19456-1259
Malvern PA 19355-0701


Chase Auto Finance                             Chevron                               Citibank
P.O. Box 78074                                 PO Box 530950                         PO Box 3855
Phoenix, AZ 85062-8074                         Atlanta, GA 30353-0950                Houston, TX 77253-3855



Citibank                                       Citibank, N.A.                        Citibank, N.A.
PO Box 722910                                  6716 Grade Ln Blg 9 STE 910-PY DEPT   701 East 60th Street North
Houston, TX 77272-2910                         Louisville, KY 40213-3410             Sioux Falls, SD 57104-0493



Michele A De Witt                              Dell                                  Mark Ditton
Aldridge Pite, LLP                             2365 Northside Drive ste. 300         Northwest Debt Relief Law Firm
4375 Jutland Dr                                San Diego, CA 92108-2709              1312 Main Street
San Diego, CA 92117-3600                                                             Vancouver, WA 98660-2919


Evergreen Professional Recoveries              Everhome                              (p)FIRST TECH FEDERAL CREDIT UNION
PO Box 666                                     11 Oval Dr. Ste 107                   ATTN SAM BANKRUPTCY
Bellevue, WA 98009-0666                        Islandia, NY 11749-1416               P O BOX 2100
                                                                                     BEAVERTON OR 97075-2100


Gordon, Aylworth & Tami                        IRS                                   Kohls
4023 W. 1st Ave.                               PO Box 7346                           PO Box 610
PO Box 22338                                   Philadelphia, PA 19101-7346           Sauk Rapids, MN 56379-0610
Eugene, OR 97402-0477
LVNV Funding, LLC its successors and assigns   Lowes                                         MIDLAND FUNDING LLC
assignee of Citibank, N.A.                     2479 Edison Blvd                              PO BOX 2011
Resurgent Capital Services                     Unit A                                        WARREN, MI 48090-2011
PO Box 10587                                   Twinsburg, OH 44087-2476
Greenville, SC 29603-0587

Macmall                                        Lisa M. McMahon-Myhran                        Nikole Montufar
2420 Sweet Home Rd                             901 Fifth Avenue, Suite 400                   Weinstein & Riley, P.S.
Amherst, NY 14228-2243                         Seattle, WA 98164-2085                        2001 Western Avenue
                                                                                             Ste 400
                                                                                             Seattle, WA 98121-3132

Moorage Operations                             North Cascade Trustee Services                Paypal Credit
1600 S. Dakota St.                             901 Fifth Ave. Ste. 410                       2420 Sweet Home Rd
Seattle, WA 98108-1546                         Seattle, WA 98164-2094                        Amherst, NY 14228-2243



Paypal MC                                      (p)PORTFOLIO RECOVERY ASSOCIATES LLC          Quantum3 Group LLC as agent for
PO Box 12914                                   PO BOX 41067                                  MOMA Funding LLC
Norfolk, VA 23541-0914                         NORFOLK VA 23541-1067                         PO Box 788
                                                                                             Kirkland, WA 98083-0788


SYNCHRONY BANK                                 Sears                                         Seward Park Dentistry
c/o Weinstein & Riley, P.S.                    PO Box 11887                                  5224 Wilson Ave S
2001 Western Ave, Ste 400                      Roanoke, VA 24022-1887                        Seattle, WA 98118-2587
Seattle, WA 98121-3132


Jocelyn Shelby                                 Troy Shelby                                   Synchrony
5108 S Myrtle St                               5108 S Myrtle St                              c/o Weinstein & Riley, P.S.
Seattle, WA 98118-3444                         Seattle, WA 98118-3444                        2001 Western Ave, Ste 400
                                                                                             Seattle, WA 98121-3132


Synchrony Bank                                 THE BANK OF NEW YORK MELLON FKA THE BANK OF   TIAA FSB, dba EverBank
PO Box 520                                     P.O. Box 10826                                C/O Robinson Tait, P.S.
Valhalla, NY 10595-0520                        Greenville, SC 29603-0826                     901 Fifth Avenue, Suite 400
                                                                                             Seattle, WA 98164-2085


(p)TIAA FSB                                    The Bank Of New York Mellon                   Maria Tsagaris
BANKRUPTCY DEPARTMENT                          c/o Bayview Loan Servicing, LLC.              McCalla Raymer LLC
301 W BAY STREET                               4425 Ponce De Leon Boulevard                  1544 Old Alabama Rd
JACKSONVILLE FL 32202-5184                     5th Floor                                     Roswell, GA 30076-2102
                                               Coral Gables, Fl 33146-1837

United States Trustee                          WSECU                                         Wells Fargo
700 Stewart St Ste 5103                        PO Box WSECU                                  725 Canton Street
Seattle, WA 98101-4438                         Olympia, WA 98507-0099                        Norwood, MA 02062-2679



Jason Wilson-Aguilar
600 University St #1300
Seattle, WA 98101-4102
                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


First Tech Federal Credit Union                       Portfolio Recovery Associates, LLC                   TIAA FSB, DBA EverBank
P.O. Box 2100                                         POB 41067                                            301 West Bay St
Beaverton, OR 97075                                   Norfolk VA 23541                                     Jacksonville, FL 32202




                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)ARS National Services                              (u)Alltran Financial LP                              (u)American Coradius International LLC




(u)Appelles                                           (u)Atlantic Credit and Finance                       (u)Cavalry




(u)Courtesy NEF                                       (u)Credit Collection Services                        (u)ERC




(u)GC Services LP                                     (u)Genpact Services LLC                              (u)Midland Credit




(u)Midland Credit Management                          (u)National Enterprise Systems                       (u)Portfolio Recovery Associates




(u)THE BANK OF NEW YORK MELLON                        (d)THE BANK OF NEW YORK MELLON FKA THE BANK O        (u)Transworld Systems, Inc
                                                      P.O. Box 10826
                                                      Greenville, SC 29603-0826



(d)Jason Wilson-Aguilar                               End of Label Matrix
600 University St #1300                               Mailable recipients    57
Seattle, WA 98101-4102                                Bypassed recipients    19
                                                      Total                  76
